             Case 3:20-cv-00024-PRM Document 20 Filed 04/17/20 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

 IVONNE MENDOZA,

      Plaintiff,
                                                           Case No: 3:20-cv-00024-PRM
 v.

 MIDLAND CREDIT MANAGEMENT, INC.,

      Defendant.


                     PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE


        NOW comes Nathan C. Volheim (“Volheim”), counsel for IVONNE MENDOZA

(“Plaintiff”), hereby submitting this following response to this Honorable Court’s Order to Show

Cause, and in support thereof states as follows:

        1.         As a preliminary matter, with all that is going on in the world right now related to

the tragic circumstances surrounding COVID-19, the last thing this Honorable Court should be

compelled to do is issue a Show Cause Order over a clear misreading of a prior directive.

However, due to a bungle by the undersigned, that is precisely what was necessary. It is with

sincere regret that this Honorable Court has to waste another moment reading forward.

        2.         On March 12, 2020, this Honorable Court entered an Order for Plaintiff’s counsel

and Defendant’s counsel to retain local counsel in this action on or before April 13, 2020. The

Order clearly stated, “that the parties should each retain a member of the Bar of this Court, who

maintains an office within the El Paso Division of the Western District of Texas, as co- counsel

with authority to act as attorney of record for all purposes.” [Dkt No.10].

        3.         Plaintiff’s counsel neglected to comprehend the part of the Order in which the Court

required the local counsel to “maintain an office within the El Paso Division of the Western District

                                                     1
             Case 3:20-cv-00024-PRM Document 20 Filed 04/17/20 Page 2 of 3



of Texas “ and thought it was sufficient to retain local counsel who resides in the Western District

of Texas.1

        4.      On April 13, 2019, attempting to be in timely compliance with this Honorable

Court’s Order, Plaintiff’s counsel retained James Meyrat, who is a member of the Bar for the

Western District of Texas, to act as his co-counsel. While James Meyrat does reside in the Western

District of Texas, he does not reside in the El Paso Division.

        5.      Upon further review of James Meyrat’ s office location, this Honorable Court

rightfully noticed that it did not reside within the El Paso Division.

        6.      On April 17, 2020, this Honorable Court entered a Show Cause Order as to

Plaintiff’s lack of compliance with its previous Order. [Dkt No.18].

        7.      Immediately upon reviewing this Honorable Court’s Show Cause Order, Volheim

realized his blunder, dropped everything2, and went about addressing the error.

        8.      Within hours of becoming aware of the mistake, Plaintiff’s counsel retained Timothy

V. Daniel to act as his co-counsel in this matter. Timothy V. Daniel is a member of the bar for the

Western District of Texas and maintains an office within the El Paso Division.3 Mr. Daniel filed

his appearance in this matter on April 17, 2020. [Dkt No. 19].

        9.      Beyond securing local counsel, Volheim thought most appropriate to draft and file

this response on a Friday evening as further punishment for the error. Plaintiff’s counsel will not

be billing any of the time or cost associated with correcting his mistake.

        10.     Volheim sincerely apologizes for misreading this Honorable Court’s Order.

Plaintiff’s counsel understands that his mistake has caused this Honorable Court to unnecessarily


1
  In no way aiming to mitigate Volheim’ s miscomprehension, he regularly is required to retain local counsel on
cases filed for consumers in the Northern District of Texas. In many of those circumstances, the Court only requires
that local counsel reside within the Northern District of Texas, as opposed to the individual division.
2
  Plaintiff’s counsel literally dropped his computer keyboard upon realizing his mistake.
3
  1411 Montana, El Paso, Texas 79902.

                                                         2
         Case 3:20-cv-00024-PRM Document 20 Filed 04/17/20 Page 3 of 3



spend already strained resources addressing a simple directive. Although the act was one of

omission, correcting it has been Volheim’s top priority.

       WHEREFORE, IVONNE MENDOZA’s counsel, Nathan C Volheim, sorrowfully and

sincerely request that this Honorable Court mercifully terminate the Show Cause Order without

any further action.



 DATED: April 17, 2020                              Respectfully submitted,

                                                    /s/ Nathan C. Volheim
                                                    Nathan C. Volheim
                                                    Admitted in the Western District of Texas
                                                    Sulaiman Law Group, Ltd.
                                                    2500 South Highland Avenue, Suite 200
                                                    Lombard, IL 60148
                                                    Phone: (630) 568-3056
                                                    Fax:( 630) 575-8188
                                                    nvolheim@sulaimanlaw.com
                                                    Attorney for Plaintiff



                               CERTIFICATE OF SERVICE

       I, Nathan C. Volheim, an attorney, hereby certify that on April 17, 2020, the foregoing
PLAINTIFF’S RESPONSE TO RULE TO SHOW CAUSE was filed with the Clerk of the
Court of the United States District Court for the Western District of Texas by using the CM/ECF
system.


                                                      /s/ Nathan C. Volheim
                                                      Nathan C. Volheim, Esq. 6302103




                                                3
